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                      UNITED STATES DISTRICT COURT FOR THE

                              WESTERN DISTRICT OF TEXAS




MAIRA MONTELONGO,                                  §

Plaintiff,                                         §

                                                   §

v.                                                 §

                                                   § Civil Action No. 5:19-cv-00577-JKP-RBF

My Financial Solutions LLC, Student Renew          §

LLC, Angela Mirabella, and Nick Caposio            § JURY DEMANDED

                                                   §

Defendants.                                        §




              STIPULATED MOTION FOR DISMISSAL WITH PREJUDICE

       COMES NOW, Plaintiff MAIRA MONTELONGO and Defendants MY FINANCIAL

SOLUTIONS, LLC, STUDENT RENEW LLC, ANGELA MIRABELLA, AND NICK CAPOSIO

(together known as the “Parties”), and file their Stipulated Motion for Dismissal With Prejudice

(the “Motion”) as follows:

1. The Parties have settled and compromised all claims that are asserted against the Defendants,

and Plaintiff no longer desire to pursue this action and wishes to dismiss all claims against all

Defendants with prejudice.

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2. Through its counsel’s signature below, Defendant agrees and consents to Plaintiff’s dismissal

pursuant to FED. R. CIV. P. 41(a)(1)(A)(ii).

3. This case is not a class action under Federal Rule of Civil Procedure 23, a derivative action

under Rule 23.1, or an action related to an unincorporated association under Rule 23.2

4. A receiver has not been appointed in this case.

5. This case is not governed by any federal statute that requires a court order for dismissal.

6. Plaintiff has not voluntarily dismissed any federal or state court suit based on or including the

same claims as those presented in this case.

       WHEREFORE, PREMISES CONSIDERED, the Parties jointly and respectfully request

this Court to enter this motion



Respectfully Submitted,

/s/Leland Garrett McRae
Counsel for Plaintiff
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                                  CERTIFICATE OF SERVICE

       This is to certify that a true and correct copy of the foregoing document has been filed and
served to Plaintiff’s counsel via CM/ECF on this 7th day of May, 2020 to:


/s/Chuck Bretz
Counsel for Defendants
Bretz, Flynn & Associates, P.C.
58 N. Chicago St., 2d Floor
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                                               /s/ Leland McRae
                                               LELAND MCRAE




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